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The NewYorkTimes
Company




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620 8th Avenue
                           VIA FEDERAL EXPRESS
New York, NY 10018
nytimes.com                The Honorable Kiyo A. Matsumoto
                           United States District Court
                           Eastern District of New York
                           United States Courthouse
                           225 Cadman Plaza East
                           Brooklyn, NY 11201

                           Re:    United States v. Braun. et al., No. 10-cr-433-KAM - Request for
                                  Unsealing of Records

                           Dear Judge Matsumoto:

                           I write on behalf of The New York Times Company ("The Times") to
                           request the unsealing of certain court records pertaining to Defendant
                           Jonathan Braun in the above-referenced case. It has been nearly four years
                           since Mr. Braun was sentenced and more than two years since President
                           Donald Trump commuted his sentence. Yet, a number of records on the
                           docket of his criminal proceedings remain under seal. In some cases, even
                           the docket entries themselves have been sealed. The Times asks that these
                           records and docket entries now be unsealed, pursuant to the public's right
                           of access to judicial records, grounded in both the federal common law
                           and the First Amendment. 1

                           The president's power to pardon someone is absolute and unreviewable,
                           and the public's only means of assuring that such an exceptional power is

        1 The right of access is an affirmative public right, and the standing of the press to enforce it

        is well settled. See, e.g., Globe Newspaper Co. v. Super. Ct., 457 U.S. 596,609 n.25 (1982);
        Hartford Courant Co. v. Pellegrino, 380 F.3d 83, 91 (2d Cir. 2004).



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              not abused is by learning as much as possible about the pardoned
              individuals, what they have done to be convicted and sentenced, and how
              and why their clemency was granted. The Times often seeks the unsealing
              of court records, but the need for transparency and public accountability is
              particularly compelling in a case such as this.

              Background

              Mr. Braun was indicted on May 27, 2010, on drug conspiracy charges.
              (Dkt. 1.) Prosecutors alleged that Mr. Braun operated a drug
              trafficking ring responsible for importing more than 100 tons of
              marijuana-worth roughly $1. 72 billion dollars-between 2007 and
              2010. (Dkt. 14 at 4, 18.) He pleaded guilty to certain charges on
              November 3, 2011 (Dkt. 36) and was ultimately sentenced to 10 years'
              imprisonment on May 28, 2019 (Dkt. 162).

              The Anonymous Letters

              In August 2018 and April 2019, as Mr. Braun awaited sentencing,
              three letters by third parties were filed on the docket. (Dkts. 146, 154,
              155.) Two are simply "anonymous" (Dkts. 154, 155), while the third is
              attributed to an entity called "Yellowstone Capital" (Dkt. 146). The
              letters are under seal and their docket entries do not say what they
              concern. But the letters became central to Mr. Braun's subsequent
              motion to vacate his sentence, filed on October 3, 2019 (Dkt. 174), and
              the filings related to that motion discuss the letters' contents and
              significance (e.g., Dkt. 184).

              As the Court described them, the letters were written by people "who
              have issues with Mr. Braun, who have felt that he mistreated them or
              has treated them harshly or has done things that some of these letter
              writers claim are illegal in terms of threatening behavior." (Dkt. 184 at
              5-6, 76-77.) In particular, the letters, per the Court's description,
              referred to a "lawsuit by an individual who alleges that just this past
              summer, at an engagement party, Mr. Braun intentionally shoved him
              off a two-story balcony and he sustained very serious injury." (Id at 6,
              39.) The letters also cited a second lawsuit claiming that Mr. Braun


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                "had threatened a rabbi with physical and reputational harm - by
                'community' exposure and 'embarrass[ment]' as a lying thief- over a
                delinquent business debt." (Id at 5-6, 40-41.) The Government took
                time to investigate these allegations but ultimately submitted that it did
                not have sufficient evidence of additional criminal conduct. (See Dkt.
                190.) Still, the Court referenced the letters and allegations at Mr.
                Braun's sentencing hearing on May 28, 2019. (See Dkt. 184 at 61.)

                Several months later, Mr. Braun moved to vacate his sentence, arguing
                that the Court improperly relied on the letters in sentencing him and
                that his attorney's failure to object to them amounted to ineffective
                assistance of counsel. (See id at 1-20.) The Court denied that motion
                on December 23, 2019. (Dkt. 190.) It found that, because its sentence
                "did not rely upon the allegations contained in the anonymous letters
                at issue," Mr. Braun's claim for ineffective assistance failed. (Id at
                29.) But filings related to the motion to vacate remain partly under
                seal, despite an unsealing request made by Bloomberg News in
                November 2019. (See Dkt. 180; Min. Order (Dec. 12, 2019).)

                Mr. Braun's Pardon

                In January 2021, President Trump pardoned Mr. Braun on his last day
                in office. 2 The circumstances surrounding the pardon became the
                subject of significant public interest and news reporting. 3 As The
                Times and others reported, the pardon came months after Mr. Braun
                had been sued by the New York State Attorney General and the
                Federal Trade Commission for allegedly making predatory loans to


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   Statement from the Press Secretary Regarding Executive Grants of Clemency, White
  House, https://tinyurl.com/2p8uv8su (Jan. 20, 2021).
  3 See, e.g., Michael S. Schmidt, Maggie Haberman & William K. Rashbaum, Trump's Last-

  Minute Pardon Frees Man Still Facing Accusations of Violence, N.Y. Times (Jan. 22, 2021),
  https://tinyurl.com/36k5rebn; Zeke Faux, The Loan Shark Trump Freed From Prison Is
  Lending Money Again, Bloomberg (Feb. 10, 2022), https://tinyurl.com/3j9vcru3; See Michael
  S. Schmidt, Maggie Haberman, Jonathan Swan & Alan Feuer, A Troubling Trump Pardon
  and a Link to the Kushners, N.Y. Times (Nov. 26, 2023), https://tinyurl.com/3h922wcs.


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                   small businesses and threatening them with violence when they
                   refused to repay. 4 And in the years since President Trump's pardon,
                   these suits have come to fruition: In September 2023, a New York
                   court held that "the NY AG has demonstrated that the Predatory
                   Lenders are loan sharks who perpetrated a massive fraud on desperate
                   merchants," enjoining Braun and his co-defendants from these
                   fraudulent practices and imposing monetary penalties. People ofNew
                   Yorkv. Richmond Cap. Grp. LLC; 451368/2020 (N.Y. Sup. Ct. Sept.
                   15, 2023). The same month, a federal court found Mr. Braun liable for
                   his "scheme to defraud small businesses and to intimidate their
                   owners." Fed. Trade Comm. V. RCG Advances, LLC et al., 20-cv-
                   04432-JSR (S.D.N.Y. Sept. 27, 2023). At the time of the pardon, Mr.
                   Braun was also under investigation by federal prosecutors for the same
                   alleged conduct. 5

                    The Sealed Records

                   As of December 2023, several records on the docket pertaining to Mr.
                   Braun's criminal proceeding remain fully under seal, including:

                       •   the prosecution's sentencing memorandum, filed on May 1,
                           2019 (Dkt. 156);

                       •   the anonymous sentencing letters, filed in August 2018 and
                           April 2019 (Dkts. 146, 154, 155); and

                       •   a letter regarding the adjournment of Mr. Braun's sentencing,
                           filed on June 18, 2018 (Dkt. 138).

                   As noted, Mr. Braun's memorandum in support of his motion to vacate
                   also remains available only in redacted form. (Dkt. 184.) And there

  4 Schmidt et al., supra note 3; see also Attorney General James Sues Predatory Lender That

  Threatened Violence and Kidnapping, and illegally Collected Millions from Small
  Businesses, N.Y. Attorney General Letitia James (June 10, 2020),
  https://tinyurl.com/mrrwpz5z.
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      Schmidt et al., supra note 3.


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              appear to be several entries missing from the public docket-
              specifically, docket numbers 35, 97, 101, 111, 124, 126, 130, 132, 133,
              137, 140-41, 143-45, 148, 150, 157, 164, 170, 189, and 191-though it
              is not clear that all of these entries relate to Mr. Braun.

              The Times hereby seeks access to all of the above records and docket
              items.

              The Rfaht of Access to Judicial Records

             As this Court has already recognized in this case (Min. Order (Dec. 12,
             2019) ), there is both a common law right of access to judicial
             documents, see Nixon v. Warner Commc 'ns, 435 U.S. 589, 597-98
             ( 1978), and a First Amendment right of access to both judicial
             proceedings and certain judicial documents, see, e.g., Richmond
             Newspapers, Inc. v. Virginia, 448 U.S. 555, 580 (1980) (First
             Amendment right to judicial proceedings); In re New York Times, 828
             F.2d 110, 114 (2d Cir. 1987) (First Amendment right to judicial
             documents).

             Also well-established is the Second Circuit law governing the public's
             common law right of access to judicial records. Any ''judicial
             document" is subject to a presumption of access. Lugosch v. Pyramid
             Co. of Onondaga, 435 F.3d 110, 119 (2d Cir. 2006). Courts determine
             the strength of the presumption by considering "the role of the material
             at issue in the exercise of Article III judicial power and the resultant
             value of such information to those monitoring the federal courts." Id.
             (quoting United States v. Amodeo, 71 F.3d 1044, 1049 (2d Cir. 1995))
             (cleaned up). As a result, under Lugosch, judicial documents must be
             released unless countervailing interests require withholding. See 435
             F.3d at 119.

              An additional First Amendment presumption of access attaches to
              certain judicial documents under the "experience and logic" test
              derived from Press-Enterprise Co. v. Superior Court, 478 U.S. 1, 8-9
              (1986). Under that test, when documents have historically been
              available and their public disclosure is important to the proper


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             functioning of judicial proceedings, they are subject to an additional,
             constitutional presumption of access. Id That constitutional
             presumption may be overcome only by "an overriding interest based
             on findings that closure is essential to preserve higher values and is
             narrowly tailored to serve that interest"-a higher standard than under
             the common law. Id.; see also Lugosch, 435 F.3d at 124 (evaluating
             sealing under the "more stringent First Amendment framework").

             The Records and Docket Entries Should Be Unsealed

             The public's right of access-both that rooted in the common law, and
             in the First Amendment-requires disclosure of the records and docket
             entries that The Times seeks here.

             a. The Prosecution's Sentencing Memorandum (Dkt. 156)

             The Second Circuit has squarely held that the First Amendment right
             of access applies to sentencing proceedings and related documents.
             United States. v. Alcantara, 396 F.3d 189, 196-98 (2d Cir. 2005); see
             also United States v. Munir, 953 F. Supp. 2d 470,477 (E.D.N.Y.
             2013) ("The qualified right of access to judicial proceedings and
             documents, protected under the Constitution and common law, extends
             to materials submitted to the Court in connection with sentencing that
             the Court is asked to consider.") (cleaned up). Access to sentencing
             memoranda is critical for public confidence in the judiciary, which "is
             founded on the fact that the material judges rely on for decision is
             available to the public." United States v. Huntley, 943 F. Supp. 2d 383,
             385 (E.D.N.Y. 2013). The need for public monitoring of the courts is
             at its height when the Government is using its powers to take the
             liberty of an individual, and the public has a compelling interest in
             making certain, through transparent processes, that defendants are not
             being singled out for unduly harsh or lenient penalties.

             Pursuant to Alcantara, the prosecution's sentencing memorandum is
             subject to the public's qualified right of access. In fact, it remains
             unclear why the document was filed under seal. But at this point-
             almost four years after Mr. Braun was sentenced and more than two


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                years after he was pardoned-the Government is required to establish
                why the public's right of access should be set aside and blanket sealing
                remains necessary. To the extent the memorandum was sealed to keep
                secret Mr. Braun's cooperation with prosecutors, that fact has since
                been disclosed by Mr. Braun through his then-representative Alan
                Dershowitz. 6

                b. Sentencing Letters (Dkts. 146,.,154, 155)

                The anonymous sentencing letters are also subject to both a common
                law and First Amendment right of access and must be released.

                As a general matter, "[d]ocuments used in aid of sentencing are ...
                presumed to be open to the public pursuant to the common law right of
                public access." United States v. Johnson, 2018 U.S. Dist. LEXIS
                56853, at *2 (E.D.N.Y. Apr. 3, 2018) (quoting Huntley, 943 F. Supp.
                2d at 385). That right of access encompasses sentencing letters like
                those at issue here, which "are designed to have a direct impact on the
                Court's sentence" and are therefore "directly 'relevant to the judicial
                function."' United States v. Gatti, 322 F. Supp. 2d 230,249 (E.D.N.Y.
                2004) (quoting United States v. Amodeo, 44 F.3d 141, 145 (2d Cir.
                1995)). Again, the common law presumption of access is at its apex in
                the context of sentencing: there is arguably no more weighty exercise
                of Article III judicial power than the decision to deprive a criminal
                defendant of their liberty. Notably, whether or not the court relies on a
                letter in its sentencing decision is irrelevant in the access analysis.
                Johnson, 2018 U.S. Dist. LEXIS 56853, at *3 ("[T]he presumption of
                public access is entitled to great weight whenever a party submits a
                document to the court for the purposes of influencing its decision,
                regardless of whether the court ultimately relies on this document.")
                (cleaned up). Though this court has previously declined to apply the

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    See Schmidt et al., Trump's Last-Minute Pardon Frees Man Still Facing Accusations of
  Violence, supra note 3 ("Mr. Dershowitz said he believed Mr. Braun's argument for
  clemency was 'meritorious,' because Mr. Braun cooperated with prosecutors 'for a good
  many years, and was told that his cooperation would be recognized and he didn't get that
  recognition.'").


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             First Amendment right of access to sentencing letters, Gatti, 322 F.
             Supp. 2d at 249-50, decisions in this and other Second Circuit courts
             have applied both the common law and First Amendment rights of
             access to such letters. See, e.g., Munir, 953 F. Supp. 2d at 477-78
             (ordering letters from relatives and associates "be publicly filed and
             docketed with appropriate redactions") ("Access to ... letters of
             support from third parties can be protected" under "the Constitution
             and common law."); United States v. Lawrence, 167 F. Supp. 2d 504,
             506 (N.D.N.Y. 2001) (letters submitted to clerk of the court, unlike
             those sent privately to judge, subject to access).

             Moreover, the letters are independently subject to both the common
             law and First Amendment right of access because they were
             repurposed to form a critical part of Mr. Braun's motion to vacate his
             sentence. This Court has already recognized that a constitutional right
             attaches to the papers related to this motion to vacate, in response to
             Bloomberg's previous unsealing request. (See Min. Order (Dec. 12,
             2019) ("The court recognizes the First Amendment right of access to
             the courts by the public and press.").) Under that holding, the papers
             relating to that motion must also be "judicial documents" subject to a
             common law right of access. Lugosch, 435 F.3d at 120. The fact that
             Mr. Braun did not file the letters on the public docket as part of his
             motion is inapposite: they were at the heart of the relief Mr. Braun
             sought. See, e.g., United States v. Ullah, 18-cr-16-RJS, Dkt. 56, at 2
             n.1 (S.D.N.Y. Nov. 5, 2018) (parties "cannot skirt the public's right of
             access to judicial documents simply by declining to file a document
             with the Clerk").

             That leaves the Government with the burden of establishing facts on
             the record to justify the sealing despite the presumption of access.
             Specifically, under the more rigorous First Amendment standard, the
             question is whether sealing "is necessary to preserve higher values and
             ... the sealing order is narrowly tailored to achieve that aim."
             Lugosch, 435 F.3d at 124. Should the Government try to justify the
             sealing on the basis of the privacy interests of the letter-writers, there
             is little weight to that rationale; the letters are apparently unsigned.


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                  Nor can the Government plausibly argue that there is a need for
                  secrecy in the letters' content. Both the Court and Mr. Braun have
                  already discussed-at length, in publicly available filings-the
                  contents of the letters, which themselves seem to refer to publicly filed
                  lawsuits.

                   In sum, both the common law and First Amendment rights of access
                   support unsealing of these letters. The public interest does as well. As
                   is clear from the public descriptions of them, two of the letters allege
                   incidents of violent that we know to be part of a broader pattern. 7
                   Another of the letters is from Yellowstone Capital, a merchant cash
                   advance dealer in an industry where many players, including Braun,
                   have faced investigation. 8 That connection raises even further
                   questions about the contents of the letter. Especially given the
                   circumstances of Mr. Braun's commutation, a strong public interest in
                   unsealing underlies the right of access here.

                   c. The Letter Regarding the Adjournment ofSentencing (Dkt. 138)

                   Also under seal is a letter regarding the adjournment of Mr. Braun's
                   sentencing. (Dkt. 138.) No explanation has been given for keeping this
                   letter under seal. To the extent the Government provides a rationale,
                   The Times respectfully requests the opportunity to respond to that
                   rationale on reply.

                   d. The Motion to Vacate Papers (Dkts. 181, 184, 186, 187)

                   The Times also seeks the unredaction of the filings related to Mr.
                   Braun's motion to vacate his sentence. See Dkts. 184, 186, 187. The
                   Court's December 12, 2019, order upheld these redactions based on
                   "the defendant's and the government's assessments of the legitimate
                   law enforcement and safety concerns at issue." (Min. Order (Dec. 12,

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   See Schmidt et al., Trump's Last-Minute Pardon Frees Man Still Facing Accusations of
  Violence, supra note 3.
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      See Schmidt et al., A Troubling Trump Pardon and a Link to the Kushners, supra note 3.


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              2019.) The Times asks the Court to revisit whether these interests
              remain viable with the passage of time and the disclosure of Mr.
              Braun's cooperation, and whether they are sufficient to outweigh the
              public's First Amendment right of access.

              The Court should also unseal the letter Mr. Braun filed in opposition to
              the unsealing of these materials (Dkt. 181) unless the Government can
              justify the continued sealing at this point. See In re Los Angeles Times
              Commc 'ns LLC, 28 F.4th 292, 296 (D.C. Cir. 2022) (holding the
              government's opposition to unsealing motion was itself a judicial
              record subject to the common law right of access); In re McCormick &
              Co., Inc. Pepper Prod Mktg. & Sales Practices Litig., 316 F. Supp. 3d
              455,467 (D.D.C. 2018) (applying common law right of access and
              denying motion to seal opposition to a motion to unseal).

              e. Missing Docket Entries

              Finally, The Times requests access to docket items that do not appear
              at all on the public docket of this case. 9

              We thank the Court for its consideration of this matter.

              Respectfully submitted,




              David E. McCraw



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 See Dkts. 35, 97, 101, 111, 124, 126, 130, 132, 133, 137, 140-41, 143-45, 148, 150, 157,
164, 170, 189, and 191. Docket items 145 and 150 are apparently letters from the
Government seeking adjournment of Mr. Braun's sentencing. (See Dkt. 190 at 6-7.) Like
docket item 138, these should be unsealed.

It appears that docket item 133 is a Pre-Sentence Report, while docket item 140 is an
addendum to that report. (See Dkt. 190 at 5.) The Times does not seek access to these
records, though the docket entries themselves should be unsealed.
